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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                 )
CAMPAIGN LEGAL CENTER,                           )
                                                 )
       Plaintiff,                                )      Civ. No. 18-53 (TSC)
                                                 )
               v.                                )
                                                 )      NOTICE OF
FEDERAL ELECTION COMMISSION,                     )      WITHDRAWAL
                                                 )
       Defendant.                                )
                                                 )




                    PLAINTIFF FEDERAL ELECTION COMMISSION’S
                       NOTICE OF WITHDRAWAL OF COUNSEL


       Please take notice of the withdrawal of Benjamin A. Streeter III as counsel for plaintiff

Federal Election Commission (“FEC”) in this case. Other attorneys for the FEC have entered

appearances in this action and will continue to represent the FEC.




                                                 Benjamin A. Streeter III
                                                 Benjamin A. Streeter III
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                                                 FEDERAL ELECTION COMMISSION
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